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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


MICHAEL SALAMI,

               Plaintiff,
                                                          CASE No. 1:20-CV-21
v.
                                                          HON. ROBERT J. JONKER
RANDEE REWERTS, et al.,

            Defendants.
__________________________________/

                            ORDER APPROVING AND ADOPTING
                             REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action on October 13, 2020.       (ECF No. 56).      The Report and

Recommendation was duly served on the parties. No objections have been filed under 28 U.S.C.

§ 636(b)(1)(C).

         ACCORDINGLY, IT IS ORDERED that the Report and Recommendation of the

Magistrate Judge (ECF No. 56) is approved and adopted as the opinion of the Court.

         IT IS FURTHER ORDERED that the motion for summary judgment based on failure to

exhaust filed by defendants Corizon Health, Inc. and Dr. Schmidt (ECF No. 34) is GRANTED.

Defendants Corizon Health, Inc. and Dr. Schmidt are DISMISSED as defendants from this case.




Dated:        November 17, 2020             /s/ Robert J. Jonker
                                           ROBERT J. JONKER
                                           CHIEF UNITED STATES DISTRICT JUDGE
